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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVAN

                                                     Civil,
                                       Plaintiff       ACTION
   Brian Harris
        v.

   Saint Joseph's University et al
                                       Defendant        No.       13-3937



                         NOTICE OF FILING OF          FFICIAL TRANSCRIPT

     Notice is hereby given that an official transc ipt of a proceeding held on 11/18/13 has been
filed by the Office of the Clerk of Court in the a ove-captioned matter. The parties have seven
(7) business days to file with the court a Notice of Intent to Request Redaction of this transcript.
If no such Notice is filed, the transcript may be made remotely electronically available to the
public without redaction after ninety (90) calendar days.

    Unless otherwise ordered by the court, the attorney must review the following portions of the
transcript:

    •             opening and closing statements made on the party's behalf;
    •             statements of the party;
    •             the testimony of any witnesses called by the party;
    •             sentencing proceedings; and
    •             any other portion of the transcript as ordered by the court.

    Any party needing a copy of the transcript to review for redaction purposes may purchase a
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terminal.




Date:        =1127 /14


                                         Certificate of Service

     I hereby certify that on 1!27/14 , I served the forgoing notice upon the parties in this
matter via e-mail and/or via first-class mail as indicated in the attached Notice of Electronic
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